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AO 442 (Revi 7099 Warrant for -DCB-HCE DocumentS Filed 01/13/11 Page 1of1

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UNITED STATE fRICT C OER FE:

"___ LODGED||

United States of America
v.

GABRIEL TORRES-GOMEZ

(aka Heriberto Salazar-Torres)| BY

CLERK US DISTRICT COURT
stn - DEPUASH NUMBER : CR-11-50009-TUC-DCB(HCE)

ARREST WARRANT

To: Any authorized jaw enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

GABRIEL TORRES-GOMEZ
(aka Heriberto Salazar-Torres)

who is accused of an offense or violation based on the following document filed with the court:

oO Indictment C] Information OJ Complaint O Order of Court

x Violation Notice CJ Pretrial Release Violation Petition

This offense is briefly described as follows: violation of his conditions of supervised release
imposed by the Honorable C. LeRoy Hansen on March 31,2010, in the District of New Mexico.

US Chwadey January 11, 2011, USDC

Signature of Issuing Ofticer Date and Location
C. Schwader Tucson, Arizona
(By) Deputy Clerk City and State

Bail fixed at $ ___ DEFT. TO BE HELD WITHOUT BOND By: _Hon. David C. Bury

United States District Judge

RETURN

This warrant was received and executed with the arrest of the above-named defendant at:

ir. Received Printed Name and Title of Arresting Officer Signature of Arresting Officer

LW \\ .
wt Subject arrested (YY
and initialed on

6 e of Arrest -.
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PO, AUSA, USM

